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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :
                                                  : Case No. 21-cr-710-TSC
                                                  :
                v.                                :
                                                  :
 MICHAEL G. McCORMICK,                            :
                                                  :
        Defendant.                                :


  DEFENDANT’S UNOPPOSED MOTION TO CONDUCT SENTENCING BY VIDEO

                                        TELECONFERENCE

       Michael McCormick, by and through his attorney of record, Samuel Cross, submits this

unopposed motion to conduct the sentencing hearing in this matter by video teleconference, and

in support, represents the following:

   1. Sentencing in this matter is currently set for December 20, 2022, at 11:00 a.m., in person,

       in Courtroom 9. See Oct. 25, 2022, Minute Entry.

   2. Mr. McCormick pleaded guilty on July 18, 2022, via video teleconference, to Count IV

       of an Information that charged him with Parading, Demonstrating, or Picketing in a

       Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G). See Jul. 18, 2022, Minute

       Entry; Information, ECF No. 8. The Court accepted the plea and set the matter for

       sentencing. Jul. 18, 2022, Minute Entry.

   3. The Clerk’s Office for the United States District Court for the District of Columbia has

       indicated to the undersigned’s office, upon inquiry, that the District’s Standing Order

       Number 22-35 (BAH), which by its terms extends the CARES act until August 11, 2022,
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       is still in effect. The CARES act provides for conducting certain hearings in criminal

       matters by video teleconference.

   4. Furthermore, a defendant need not be present for sentencing in misdemeanor matters and

       may instead appear by video teleconference, so long as the Court permits it and the

       defendant agrees in writing. Fed. R. Crim. P. 43(b)(2).

   5. Mr. McCormick’s written consent to conduct sentencing in this matter is attached hereto.

   6. Counsel for the United States, Douglas Collyer, has indicated by email that the United

       States does not oppose conducting sentencing in this matter by video teleconference.

   7. Mr. McCormick resides and works in Orange County, California, and is not a person of

       substantial means. He would prefer, with leave of the Court, to appear for sentencing by

       video teleconference.

       For the forgoing reasons, Mr. McCormick respectfully requests that Court enter an order

permitting Mr. McCormick and his counsel to appear by video teleconference for the sentencing

set for December 20, 2022, as specified herein.

                                     Respectfully submitted,
                                     CUAUHTEMOC ORTEGA
                                     Federal Public Defender

DATED: November 10, 2022             By /s/ Samuel Cross _________
                                     SAMUEL CROSS
                                     Deputy Federal Public Defender
                                     Attorney for Michael McCormick
